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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA

In Re:                                 )
                                       )            Case No. 18-40261-KKS
Michael Echols                         )
                                       )
                             Debtor    )

        CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN
             BK GLOBAL REAL ESTATE SERVICES
TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327

      COMES NOW the Chapter 7 Trustee, Sherry Chancellor, and pursuant to 11

U.S.C. § 327, states as follows:

      1. Sherry Chancellor, is the duly qualified and acting Chapter 7 Trustee of

         the bankruptcy estate of Michael Echols.

      2. An asset of the bankruptcy estate is real property located at 200

         PARKBROOK CIR TALLAHASSEE, FL 32301, and which is legally

         described as follows:

         LOT:021 SUBD: PARK BROOK CROSSING PHA 6
         SEC/TWN/RNG/MER:SEC 33 TWN 1N RNG 1E PARK BROOK
         CROSSING PHASE 6 LOT 21 UNIT A PHASE 6 OR 1516/2343
         2376/1319 200 PARKBROOK CIRCLE


         hereinafter referred to as the “Real Property”.

      3. The Debtor has not declared the Real Property as exempt.

      4. The Debtor did not list Real Property on the schedules. The approximate

         value is $84,900.00
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5. The Real Property is subject to the following mortgage(s) or lien(s):

      a. First Mortgage Holder: Carrington Mortgage Services

      b. Second Mortgage Holder: Mr. Cooper

6. The creditors holding mortgages or liens have filed proofs of claims setting

   forth the following balances due and owing on the Real Property:

      a. Carrington Mortgage Services

7. Based upon the market value of the Real Property and the Proof of Claim

   [or schedules], of the Debtor, the first mortgage debt is in excess of the

   market value of the Real Property.

8. The Handbook for Chapter 7 Trustees published by the Executive Office

   of the United States Trustee, states on pages 4 – 14 under Section 9 “Sales

   of Assets” (a) General Standards “A trustee may sell assets only if the sale

   will result in a meaningful distribution to creditors. The Section further

   states “the trustee may seek a “carve-out” from a secured creditor and sell

   the property at issue if the “carve-out” will result in a meaningful

   distribution to creditors. Further, the Section states “The trustee must also

   consider whether the cost of administration or tax consequences of any sale

   would significantly erode or exhaust the estate’s equity interest in the

   asset.”
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9. BK Global Real Estate Services (“BK Global”) provides services to

  trustees as BK Global has expertise and experience in assisting the trustee

  in negotiating with secured creditors to accomplish the following:

     a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party

        the Chapter 7 Trustee determines to have made the best qualified

        offer with the sale approved by the Court, pursuant to 11 U.S.C. §

        363;

     b. Obtain the release the senior mortgage and waive all of its claims

        against the estate with respect to the Real Property (including any

        deficiency claims resulting from the proposed sale);

     c. Work with the secured mortgage holder to enter into an agreement

        for an 11 U.S.C. § 506 surcharge to pay all of the closing expenses

        associated with the § 363 sale, including the payment of a six percent

        (6%) real estate brokerage commission and reimbursement of their

        out-of-pocket expenses to BK Global and any associated real estate

        professional, paid from the proceeds of the sale, and provide a

        meaningful carve out for the benefit of allowed unsecured creditors

        of the Debtor’s estate; and

     d. Make certain the amount of the carve out is clearly set out in the

        motion to sell the Real Property pursuant to 11 U.S.C. § 363.
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10. BK Global will assist the Chapter 7 trustee in negotiations with the first

   mortgage holder to obtain the consent of the first mortgage holder for the

   sale of the Real Property. A carve out from the sale proceeds of the Real

   Property for the payment of a six percent (6%) real estate commission to

   BK Global and any associated real estate professional, and a carve out from

   the sale proceeds, such amount for the benefit of unsecured creditors of the

   bankruptcy estate, which will result in a meaningful distribution to the

   creditors, and upon a successful resolution with the secured creditor, a

   separate motion will be filed seeking approval of the settlement terms and

   conditions.

11. BK Global will not be entitled to any fees if the first mortgage holder

   does not grant its consent or the Court does not grant the motion to approve

   the sale of the Real Property.

12.In no event will the bankruptcy estate have any obligation to pay BK

   Global or associated real estate professional for their services, or to pay the

   customary title and closing services. The terms of the listing agreement

   and this Application provide that BK Global and listing agent are only

   entitled to payment if and when (a) secured creditor grants its consent, (b)

   the motion to approve sale is granted and (c) the Real Property is sold, in

   which event BK Global and listing agent will receive a six percent (6%)
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   real estate brokerage commission and obtain reimbursement of any out-of-

   pocket expenses.

13.The Trustee believes that the highest and best value for the Real Property

   will be generated through a sale in which the Real Property is widely

   marketed to the public and offered at the highest price that the market will

   bear. The Trustee further believes that such a sale is in the best interest of

   the Debtor’s bankruptcy estate, but can only be achieved if the secured

   creditor’s consent is first obtained. The Chapter 7 trustee believes that

   retaining BK Global and/or an associated real estate professional to obtain

   the secured creditor’s consent is in the best interest of the Debtor’s

   bankruptcy estate.

14.The Trustee submits that the terms of employment and compensation as

   set out in this application and the listing agreement (Exhibit “A”), are

   reasonable in light of the extensive experience of BK Global and any

   associated real estate professional, and the nature of the services they

   provide.

15.BK Global attested that it is a disinterested person within the meaning of

   Section 101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy

   Procedure 2014 and 2016(a).        Attached hereto as Exhibit “B” is an

   Affidavit of Disinterestedness of BK Global. BK Global also attests,
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          pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

          with any individual or entity other than listing agent or a buyer’s agent, if

          applicable.

       WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the

Court’s authority to retain BK Global in this case and requests that the Court approve

the compensation arrangements set forth in the listing agreement and this

application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and

for such other and further relief as the Court determines is appropriate.

       Respectfully submitted this the 20th day of December 2018.

                                              /s/ Sherry F. Chancellor
                                              SHERRY F. CHANCELLOR
                                              Florida Bar No. 434574
                                              619 West Chase Street
                                              Pensacola, Florida 32502
                                              (850) 436-8445


                           CERTIFICATE OF SERVICE

      I hereby certify that on December 20, 2018, the above and
foregoing document was filed electronically using CM/ECF and a true and correct
copy of this document was served as follows:

         X upon filing, the CM/ECF system sent notification to all parties listed in
the attached Notice of Electronic Filing

   •   Robert C. Bruner rbruner@brunerwright.com,
       melanie@brunerwright.com; twright@brunerwright.com;
       reception@brunerwright.com
   •   Jason H. Egan jason.h.egan@usdoj.gov
   •   United States Trustee USTPRegion21.TL.ECF@usdoj.gov
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and, any and all other parties, if any participating in the CM/ECF system in this
matter as shown within the receipt generated at the time of the filing of this
Application; and

      _x By U.S. Mail to the following

      Michael Echols, 2313 Braeburn Circle, Tallahassee, FL 32309
      PRA Receivables, PO Box 41021, Norfolk, VA 23541

                                       /s/ Sherry F. Chancellor
                                       SHERRY F. CHANCELLOR
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                                    EXHIBIT A

              BK Global Real Estate Brokerage Listing Agreement


This Real Estate Brokerage Listing Agreement (“Agreement”) is between

Sherry Chancellor (“TRUSTEE”) and BK Global Real Estate Services LLC
(“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the
EXCLUSIVE BROKER in the sale of the real and personal property (collectively
“Property”) described below:

200 PARKBROOK CIR TALLAHASSEE, FL 32301

Upon full execution of a contract for sale and purchase of the Property and court
approval, all rights and obligations of this Agreement will automatically extend
through the date of the actual closing of the sales contract. Trustee and Broker
acknowledge that this Agreement does not guarantee a sale. This Property will be
offered to any person without regard to race, color, religion, sex, handicap, familial
status, national origin, or any other factor protected by federal, state, or local law.
Trustee certifies and represents that she/he/it is legally entitled to convey the
Property and all improvements.

Price: The starting listing price of the property will be: $_____________. If there
are no acceptable offers after 15 days, the list price will be reduced 5% and will
reoccur every 15 days until the listing expires or if an acceptable offer is received.

Brokers Obligations: Broker will assist the Trustee to make commercially
reasonable efforts to procure the consent and agreement of the senior mortgagee
(“Secured Creditor”) to:

   a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you
      determine to have made the best qualified offer during a public sale
      approved by the court or agree to 11 U.S.C. § 363(k) and place a credit bid
      on the Property from the estate;

   b) Release its lien with respect to the Property; and
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   c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any
      commission payable to the local real estate broker and all other fees and
      expenses associated with the sale, and (y) provide a carve-out for the benefit
      of allowed unsecured creditors of the estate.




Brokers Duties: Broker duties will include but will not be limited to the following
services;

   • Researching the real estate, running title and lien searches to identify creditors
     for resolution and any title issues.
   • Advising the trustee of any issues and discuss potential resolutions.
   • Conducting the resolutions under the trustee’s direction.
   • Assisting the trustee in the collection of documents and information for
     employment.
   • Making and identifying the correct contact with the secured creditors.
   • Notifying the secured creditor of the upcoming sale and identifying servicer
     requirements.
   • Assisting the trustee in establishing market value and negotiating with the
     Servicer an acceptable sales price and establishing a carve-out.
   • Development of online marketing, email campaign and full nationwide
     marketing services.
   • Conducting an online sale.
   • Use of the BK Global technology platform.
   • Assist the trustee in the review of all offers and coordinate the final
     documentation of the offer accepted by the trustee.
   • Managing contract requirements such as inspections, appraisals and HOA
     applications.
   • Coordinating closings and assisting the trustee in the collection of required
     information for court filing.
   • Closing the transaction and ensure the estate has received the appropriate
     funds.

Local Listing Brokers Obligations: Broker will select a Local Listing Broker
to co-list the property and provide limited services. Trustee will retain both
Broker and the Local Listing Broker to market the Property for sale to the public
under a separate listing agreement.
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Local Listing Brokers Duties: Local Listing Brokers duties will include but will
not be limited to the following services;

   • Inspecting the property and completing a broker’s price opinion.
   • Listing the property in the multiple listing service (MLS).
   • Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

   a) Cooperate with Broker in carrying out the purpose of this Agreement
   b) Provide Broker with keys to the Property and make the Property available
      for Broker to show during reasonable times.
   c) File all court motions and documents in a timely manner to ensure a
      successful sale.
   d) Advise Broker of any special issues our court requirements.



Compensation: 6% Real Estate Commission will be paid out of the proceeds off
the sale and is due and paid at closing. The commission will cover the costs of the
Broker, Local Listing Broker and Buyers Broker. The commission will be paid
as follows:

   • 2% Broker
   • 2% Local Listing Broker
   • 2% Buyers Broker

Term of Agreement: The term of this Agreement will commence when signed by
the Trustee and the court approves it. This Agreement will automatically
terminate upon the closing of the sale of the Property, or it may be terminated by
either party for any or no reason after 180 days from commencement. In addition,
this Agreement will be terminated if the Trustee files a Report of No Distribution,
files a Notice of Abandonment of the subject property, or submits a Trustee’s Final
Report to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this
Agreement in an individual capacity, but solely as trustee of the estate, (b) Broker
does not and will not have any right or claim with respect to the estate and
(c) Brokers sole recourse for payment of real estate commission, fees and
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expenses will be paid at closing with court approval and under the Consent of the
Secured.

This Agreement constitutes our complete agreement on this matter and supersedes
all prior agreements and representations concerning the same. It may not be
modified or amended except in a writing signed by both parties.

The effective date of this agreement is __________________.

BROKER:



By:                               Acknowledged and agreed as of the date set
forth above.
    Patrick Butler, Broker-in-Charge



TRUSTEE:



                                  Acknowledged and agreed as of the date set forth
above.
Sherry Chancellor, not individually but solely as Trustee in the referenced matter.
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